[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
IN RE: EDITH E. BANABY
DECISION OF JUDGE TRIAL REFEREE
The above-entitled matter having been referred to me as Judge Trial Referee by the Judicial District of NEW HAVEN to hear the evidence and render a decision, I held a hearing upon the same at the Court House at NEW HAVEN on April 1, 1997, AND DECIDE AS FOLLOWS:
1. On FEBRUARY 10, 1997, the Transportation Commissioner, pursuant to Statute, agreed to acquire for the layout, alteration, improvement and construction of a highway known as a RAILROAD STRUCTURE land and improvements thereon as described in the Voucher Agreement.
2. Said property owner HAS agreed to accept the sum of $40,000.00 subject to such terms or conditions as appear in the Voucher Agreement which has been made.
3. I heard the evidence produced by the Transportation Commissioner, and find that the amount that the property owner has agreed to accept is reasonable and the terms of the settlement fair and just to both parties. CT Page 4027
Arthur H. Hecky, JUDGE TRIAL REFEREE